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 2
                                      UNITED STATES DISTRICT COURT
 3
                                                DISTRICT OF NEVADA
 4
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 5
         Timothy Cleveland,                                  Case No. 2:24-cv-00511-CDS-DJA
 6
                                  Plaintiffs,
 7                                                                             Order
               v.
 8
         Andrew Flores, et al.,
 9
                                  Defendants.
10

11             This matter is before the Court on the Court’s review of the docket. Now that Plaintiff’s

12   amended complaint is filed on the docket, the Court issues summonses for Larry Palmer and

13   Andrew Flores.

14

15             IT IS THEREFORE ORDERED that the Clerk of Court is kindly directed to issue

16   summonses for: (1) Larry Palmer; and (2) Andrew Flores. Plaintiff must complete the

17   summonses before serving them on the defendants. 1 The Clerk of Court is also kindly directed to

18   send Plaintiff a copy of this order and of the summonses.

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20             DATED: June 28, 2024

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                                                             DANIEL J. ALBREGTS
23                                                           UNITED STATES MAGISTRATE JUDGE
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28       Federal Rule of Civil Procedure 4 governs summons and service of summons.
